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                  EXHIBIT B-1
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                                                                                 Accel Consulting LLC
                                                                                  1750 30TH STREET
                                                                                            Suite 447
                                                                                   Boulder, CO 80301
                                                                                        917.470.9140
                                                                     douglas.brush@accelconsulting.llc




Douglas A. Brush, GCIH, GCFA, GCFE, EnCE
                                             Summary
Douglas is an information security executive with over 30 years of entrepreneurship and
professional technology experience. He is a globally recognized expert in cybersecurity, data
privacy, incident response, digital forensics, and information governance. In addition to serving as
a CISO and leading enterprise security assessments, Douglas has conducted hundreds of
investigations involving hacking, data breaches, trade secret theft, employee malfeasance, and
other legal and compliance issues. He also serves as a federally court-appointed Special Master
and neutral expert in high-profile litigation matters involving privacy, security, and eDiscovery.

Douglas is the President of Accel Consulting and provides virtual CISO, expert witness testimony,
incident response, governance, data privacy and compliance, and end-to-end preventative security
solutions for clients across the globe.

He is also the founder and host of Cyber Security Interviews, a popular information security
podcast.

                                            Experience
Accel Consulting LLC                                                                  2017 – Present
President
Boulder, CO
• Serves as interim and virtual Chief Information Security Officer (CISO) for global corporations
• Develops, implements, and maintains cybersecurity programs around common Risk Management
    Frameworks (RMFs)
•   Designs best practices for security operation centers detection, alerting, and response capabilities
    around common Tactics, Techniques, and Procedures (TTPs)
•   Testifies and serves as Expert Witness in litigation matters regarding data privacy, cybersecurity,
    incident response, digital forensics, and eDiscovery

Splunk                                                                             2020 – Present
Global Advisory CISO
Boulder, CO
• Leads consultative sales plays with national and global account teams, and customer CISOs and
    security executives
• Delivers executive-level presentations on security roadmaps and account objectives with customer
    C-suite leadership teams
• Splunk Security Specialist of the Year FY2021
• Public face for Splunk as cybersecurity evangelist through contributions to the cybersecurity and
    business communities
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    Curriculum Vitae of Douglas Brush                                                         Updated June 2021

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     EQ (Special Counsel)                                                                   2019 – 2020
     Vice President, Cyber Security Solutions
     Denver, CO
     • Oversees the development, sales, and delivery of incident response, cybersecurity, and governance
         consulting solutions
     • Assists team and client with detection, response, and mitigation to cyber attacks
     • Advise and develop compliance governance and security programs around health care and other
         regulated data
     •   Serves as Chief Information Security Officer (CISO) for several companies

     Kivu Consulting, Inc.                                                                    2017 – 2019
     City Lead, Cyber Investigations
     Denver, CO
     • Supervised cyber investigations and digital forensics analysis, specializing in unauthorized access,
          trade secret theft, employee malfeasance, and response to data breaches and hacking
     • Provided information protection consulting services and assessments to assist organizations
          manage risk around sensitive information
     •   Served as a subject matter expert through speaking engagements, webinars, publications in trade
         & industry magazines, and articles on company blog

     Kraft Kennedy                                                                               2014 – 2017
     Practice Group Leader, Information Security & Governance
     New York, NY
     • Served as a federal court appointed Special Master on a large, high-profile litigation dealing with
         network forensics, data security, and privacy to review billions of network data transactions
     • Developed and oversaw incident response practice and investigations
     •   Led security and risk assessments for corporate clients and law firms throughout the United States

     Duff & Phelps                                                                          2012 – 2014
     Vice President, Forensic Technology & Analytics
     New York, NY
     • Managed nationwide computer forensics teams in digital investigations and e-discovery, consulting
         with corporate counsel and law firms
     • Led a high-profile federal trade secrets theft investigation which required the forensic collection,
         review, and remediation thousands of devices located across United States

     The Digital Forensic Group                                                               2008 – 2012
     Owner, President
     New York, NY
     • Specialized in IP, theft of trade secrets, and general commercial litigation
     • Performed forensic analysis, reporting and testimony on computers in large federal litigations
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                                          Education and Training
     •   Harvard VPAL Cybersecurity: Managing Risk in the Information Age – Harvard VPAL
     •   SANS SEC504: Hacker Techniques, Exploits & Incident Handling – SANS
     •   SANS FOR508: Advanced Digital Forensics, Incident Response, and Threat Hunting – SANS
     •   SANS FOR408: Computer Forensic Investigations - Windows In-Depth – SANS
     •   SANS MGT412: A Practical Introduction to Cyber Security Risk Management – SANS
     •   EnCase Computer Forensics I – Guidance Software
     •   EnCase Computer Forensics II – Guidance Software
     •   AccessData Windows Forensics Registry – AccessData
     •   AccessData Internet Forensics – AccessData
     •   AccessData Forensic Boot Camp – AccessData
     •   Microsoft Certified System Engineer (MCSE)
     •   Certified Forensic Consultant (CFC) – American College of Forensic Examiners International


                                                Certifications
     •   Harvard Cybersecurity: Managing Risk in the Information Age (July 2021)
     •   Global Information Assurance Certification – GIAC Certified Incident Handler (GCIH)
     •   Global Information Assurance Certification – GIAC Certified Forensic Analyst (GCFA)
     •   Global Information Assurance Certification – GIAC Certified Forensic Examiner (GCFE)
     •   Guidance Software – EnCase Certified Examiner (EnCE)
     •   AccessData – Access Data Certified Examiner – (ACE)
     •   CompTIA – Security+ Certification
     •   CompTIA – Network+ Certification


                                                   Teaching
     •   SecureSet Academy – Denver, CO
         o Adjunct instructor for cyber security, incident response & digital forensics, and threat hunting
         o SecureSet brings the boot camp model to cybersecurity education with comprehensive,
            practical programs

                                        Professional Organizations
     •   SANS Advisory Board (limited to professionals with over 90% passing grade on GIAC exams)
     •   Information Systems Security Association (ISSA)
     •   Open Web Application Security Project (OWASP)
     •   ISACA
     •   Conference Organizer (BSides Denver, DefCon Blue Team Village)


                                        Presentations and Seminars
     •   International Legal Technology Association (ILTA)
           o Regular speaker and presenter on digital forensics, incident response, cyber security,
               and eDiscovery at ILTA’s Annual LegalSec and ILTACON conferences
           o Frequent speaker and presenter at ILTA Community live and webinar events on
               information security
     •   Information Systems Security Association (ISSA)
           o Regular speaker and presenter on digital forensics, incident response, cyber security
     •   BSides
           o Regular speaker and presenter on digital forensics, incident response, cyber security
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    Curriculum Vitae of Douglas Brush                                                            Updated June 2021

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                                        Publications and Podcasts
     •   Cyber Security Interviews – Founder and Host (Established 2016)
         Weekly podcast with top cyber security professionals
     •   A Change in Mind-Set: Shifting from Cybersecurity to Cyber Resilience
         Forum Views - Bombay Stock Exchange Brokers' Forum (BBF)
     •   The Data Breaches Are Coming
         International Legal Technology Association (ILTA) Peer to Peer Magazine

     •   Getting Your First DFIR Job
         SANS Digital Forensics Blog
     •   You're a tool, a digital forensic tool
         SANS Digital Forensics Blog



                                           Testimony Experience

     Appointed Special Master:
     • United States District Court Northern District of California, In re: Google Inc. Street View Electronic
        Communications Litigation (2014)

     Testified in Court as a Digital Forensics Expert in:
     • Travis County District Court, Austin, TX, 53rd District, The University of Medicine and Health
        Sciences v. Infracarib Healthcare, Inc. et al (2010)
     • United States District Court, Southern District of New York, Sanrio Company, Ltd. et al v. Unica
        Accessories, Inc. et al (2010)
     • United States District Court, Southern District of New York, Passlogix, Inc v. 2FA Technology, LLC
        et al (2010)

     Testified at Deposition as a Digital Forensics Expert in:
     • United States District Court Southern District of New York, Sean G. Felder v. Contemporary Services
        Corporation, Inc. (2014)
     • United States District Court Eastern District of Louisiana, Energy Intelligence Group v. Canal Barge
        Company, Inc. (2013)
     •   United States District Court, Eastern District of Pennsylvania, Francisco Pereira v. Foot Locker, Inc.
         (2010)
     •   United States District Court, Eastern District of Pennsylvania, United States of America v. Citgo
         Asphalt Refining Company, et al (2009)

     Appointed as Neutral Expert in:
     • United States District Court District Connecticut, VCS Group, LLC v. Carlos Molina (2010)
     •   New York State Civil Supreme Court, Rockland County, Media Revo Corp. vs. Adam Rouff (2011)
